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  A0 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet I


                                     UNITED STATES DISTRICT COURT
                                                            Middle District of Alabama

         UNITED STATES OF AMERICA                                                 Judgment in a Criminal Case
                    v.                                                            (For Revocation of Probation or Supervised Release)


            MARSHA DIANE ELMORE                                                   Case No.           2: 09cr09 0-WI-IA- 14
                                                                                  USMNo              12800-002
                                                                                                          Jim L. DeBardelaben
                                                                                                            Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)               1,2,3,4 and 6 of the amended petition   of the term of supervision.
X was found in violation of condition(s)                   5 and 7 of the amended petition after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                                        Violation Ended
                           Failure to refrain from committing another federal, state or local crime          3/li
        2                  Failure to refrain from committing another federal, state or local crime          4/Il
        3                  Failure to refrain from committing another federal, state or local crime          2/11
        4                  Failure to refrain from committing another federal, state or local crime          2/11
        5                  Failure to refrain from committing another federal, state or local crime          4/10
        6                  Failure to refrain from committing another federal, state or local crime          7/14/11
        7                  Failure to refrain from possessing firearms
       The defendant is sentenced as provided in pages 2 through        4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)                                          and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If or'dered to pay restitution, the defendant must notif' the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0040                                                          August 11, 2011
                                                                                                                mposit'
Defendant's Year of Birth:          1973

City and State of Defendant's Residence:
                     Wetumpka, AL
                                                                                           W. Harold Aibritton, Senior U. S. District Judge
                                                                                                           Npae and Title Judge

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AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

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DEFENDANT:                    MARSHA DIANE ELMORE
CASE NUMBER:                  2:09cr090-WHA-14


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:
60 months.
It is ORDERED that the term of probation imposed on February 3, 2010, is REVOKED. The court has taken into consideration the
policy statements in Chapter 7 of the Guidelines Manual, the guideline range, and all relevant information in imposing the sentence
at 60 months.


     1    The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          LIat ___________________                      a.m.            p.m. on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before2 pm. on ____________________________
               as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




          Defendantdelivered on           _____________________________________ to

at                                                    with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                            DEPUTY UNITED STATES MARSHAL
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AU 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
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DEFENDANT:     MARSHA DiANE ELMORE
CASE NUMBER: 2:09cr090-WHA-14
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Three (3) years.



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shalt refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
El The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
El The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation officer. (Check, if applicab'e.)
El The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notif' the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
ii)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
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          Sheet 3C - Supervised Release
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DEFENDANT:    MARSHA DIANE ELMORE
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                                          SPECIAL CONDITIONS OF SUPERVISION

Defendant shall participate in a program of drug testing administered by the United States Probation Office.
Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the court unless in compliance with the payment
schedule.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of
the court.
Defendant shall pay the balance of any restitution previously ordered to Alfa Mutual Insurance Company at
the rate of $200 per month to commence 60 days upon release from imprisonment. Interest on restitution
remains waived. Payments are to be made to the U. S. District Court Clerk for distribution to the victim.
